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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 BRIAN JONES,                              )
                                           )
                         PLAINTIFF         )
                                           )
 V.                                        )       CIVIL NO. 2:20-CV-161-DBH
                                           )
 MAINE CAT CATAMARANS, INC.,               )
 ET AL.,                                   )
                                           )
                         DEFENDANTS        )


                             PROCEDURAL ORDER


      The plaintiff has notified the Court that the automatic bankruptcy stay in

this case has terminated (ECF No. 18). At the time the Court originally entered

the stay, (ECF No. 17), there were pending the defendants’ motion to set aside

default judgment and default and allow a late Answer, a motion that was not yet

fully briefed (the time for a reply had not run), (ECF No. 11), and the plaintiff’s

request for a disclosure hearing (ECF No. 15).

      Counsel shall confer and notify the Court by October 5, 2021, whether

those matters are now ripe for ruling or whether some other procedure should

be followed.

      SO ORDERED.

      DATED THIS 29TH DAY OF SEPTEMBER, 2021

                                               /S/D. BROCK HORNBY
                                               D. BROCK HORNBY
                                               UNITED STATES DISTRICT JUDGE
